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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

 JORGE LOPEZ-HENRIQUEZ,
                                                           Civil Action No. 2:22-cv-4267
                              Plaintiff,
                                                        STIPULATION AND NOTICE OF
                        -v-                              DISMISSAL WITH PREJUDICE
                                                        UNDER FED. R. CIV. P. 41(a)(1)(A)
 DIAMOND FOUNDRY, INC.,

                          Defendants.


       WHEREAS, on August 4, 2022, the defendant filed a motion seeking to dismiss the

complaint for lack of subject matter jurisdiction (FRCP 12(b)(1), failure to state a claim (FRCP

12(b)(6) and, alternatively, to compel arbitration;

       WHEREAS, on November 1, 2022, the Court entered an order dismissing plaintiff’s

complaint for lack of subject matter jurisdiction but granted plaintiff leave to amend;

       WHEREAS, the parties have agreed to arbitrate this dispute before a JAMS arbitrator in

Santa Clara, California, under the JAMS Employment Rules and Procedures;

       NOW, THEREFORE, the parties stipulate under Fed. R. Civ. P. 41(a)(1)(A) as follows:

       1.      The parties shall submit the claims asserted in the complaint and all other claims

and defenses arising from plaintiff’s employment with defendant to arbitration before a JAMS

arbitrator in Santa Clara, California, under the JAMS Employment Rules and Procedures; and
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        2.      Plaintiff hereby dismisses his complaint with prejudice for lack of subject matter

jurisdiction.

 Dated:      November 28, 2022


 DHILLON LAW GROUP, INC.                        THE LAW OFFICE OF JOHN F.
                                                OLSEN, LLC

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 Inc.




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